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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SECURITIES AND EXCHANGE                 )
COMMISSION,                             )
                                        )
       Plaintiff,                       ) CIVIL ACTION FILE NO.:
                                        ) 1:21-CV-03413-SDG
v.                                      )
                                        )
JOHN J. WOODS et al.                    )
                                        )
       Defendants.

                                     ORDER

      This matter is before the Court on Defendant John J. Woods’s Consent Motion

to Extend Preliminary Injunction Order. Given that Plaintiff and the Receiver

appointed in this matter consent to the requested relief, and for good cause shown,

Defendant’s Motion is GRANTED.

      IT IS HEREBY ORDERED THAT:

      The monthly restrictions on the payment of legal fees and personal expenses

by Mr. Woods set forth in Section I.B. of the Court’s September 1, 2021 Preliminary

Injunction Order (Doc. 25), as modified and clarified by the Court’s Order

of December 3, 2021 (Doc. 110), are extended for an additional sixty (60) days,

through and including May 2, 2022.
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      Without further approval of the Court, Mr. Woods is permitted to

withdraw and transfer up to $70,000 from his TDA Ameritrade Rollover IRA

Account No. 8349 to his Synovus checking account, either in a single

lump-sum or in installments, to fund legal and personal expenses as set forth

in the Preliminary Injunction Order and the December 3, 2021 order.

      The parties remain free to petition the Court to modify these terms or the

  Preliminary Injunction Order in the future due to changed facts or circumstances.


      SO ORDERED, this 28th day of February, 2022.

                                _______________________________________
                                STEVEN D. GRIMBERG
                                UNITED STATES DISTRICT COURT JUDGE




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